Case 4:12-cv-40022-TSH Document 1-10 Filed 02/27/12 Pagei1of1 Exhibit H

Donna Landry .
From; Susan Trainor [etralnor@emrta, us} , ,
Sent: Friday, May 27, 2017 2:50 PM

To: qancry@mrta us

Subject;

| have tried to reach you a few times today bacause | know my finle is ending soon and my concern Is that | wont have
sick time for upcoming appts for the next 6 months. | had talked toyou about a month ago regarding the new plan from

- the dectors about going thru-the weight loss program and that some appts were during work-hrs and also | spoke with
Karen bacause the meds seem to be halping with pain but the situation about the side effects in the morning will prob
be permanent 50 | needed to know If without the fmal how that was going to effect me and | was told that after the fmla
there wasn’t much she could do...So my understanding of this would be If Im tardy I will be fet go...if lm wrong please let
me know..../ am hoping that mart-will reconsider thelr decison and work with mé..agaln | would prefer NOT to go part

_ time and | am hoping that If come In late | can make up’ my time ef the end of the day or ifm unable to do so because
of doc appts that I can take the loss of pay without It ‘leading to terminatlon..We are talking about a time frame of 5 ming

to 45 mins andim also not sure If tm covered by this under the disability act after frnla or not.

From: Donna Landry
Banh Friday, May 27, 2011 1:53 PM

Tor
_ Subject:

Sue-
i had @ brief discussion with Keren today relative to some questions abopt-possibly reducing your work hours due to a
disability, Can you provide me In writing exactly what you are Idoking far?

Thanks,
Donna

Donna Landry

Director of Cperations/HR
MART

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